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5
     Attorney for Defendant
     MELISSSA TORRES
6
                             IN THE UNITED STATES DISTRICT COURT
7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA

8

9    UNITED STATES OF AMERICA,                        )       No. CR-S-14-097 MCE
                                                      )
                                                      )
10           Plaintiff,                               )       STIPULATION REGARDING
11
                                                      )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
                                                      )       FINDINGS
12
     MELISSA TORRES,                                  )
                                                      )       Date: September 3, 2015
13
                                                      )       Time: 9:00 a.m.
             Defendant.                               )       Judge: Honorable Morrison C. England, Jr.
14
                                                      )
                                                      )
15
                                                      )
16
             The United States of America through its undersigned counsel, Christiaan Highsmith,
17
     Assistant United States Attorney, together with counsel for defendant Melissa Torres, John R.
18

19   Manning, Esq., hereby stipulate the following:

20        1. This matter is set for jury trial on November 9, 2015, with a TCH on October 8, 2015.
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     By previous order of the court, this matter was set for status conference regarding trial on August
22
     6, 2015.
23
          2. By this stipulation, defendant Melissa Torres now moves to continue the status
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25   conference and set the matter for change of plea on September 3, 2015 and exclude time between

26   August 6, 2015 and September 3, 2015 under the Local Code T-4 (to allow defense counsel time
27
     to prepare).
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        3. The parties further stipulate the presently set TCH on October 8, 2015 and the presently
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2    set jury trial date of November 9, 2015, should be vacated in light of the requested change of

3    plea hearing.
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        4. The parties agree and stipulate, and request the Court find the following:
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            a. Currently, the government has provided in excess of 150 pages of discovery as well
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7
                as 20 DVDs with video.

8           b. Counsel for the defendant needs additional time to meet with the defendant and
9               review the plea agreement and discuss, in detail, the conditions and consequences
10
                contained therein. Counsel further needs additional time to meet with the sentencing
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                expert appointed by the court in this matter to review, evaluate and perhaps, counter,
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13              the plea agreement provided by the government.

14          c. Counsel for defendant believes the failure to grant a continuance in this case would
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                deny defense counsel reasonable time necessary for effective preparation, taking into
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                account the exercise of due diligence.
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            d. The government does not object to the continuance.
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19          e. Based on the above-stated findings, the ends of justice served by granting the

20              requested continuance outweigh the best interests of the public and the defendant in a
21
                speedy trial within the original date prescribed by the Speedy Trial Act.
22
            f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
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24
                Section 3161(h)(7)(A) within which trial must commence, the time period of August

25              6, 2015, to September 3, 2015, inclusive, is deemed excludable pursuant to 18 United
26              States Code Section 3161(h)(7)(A) ) and (B)(iv), corresponding to Local Code T-4
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                because it results from a continuance granted by the Court at the defendant's request
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                                                     2
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                on the basis of the Court’s finding that the ends of justice served by taking such
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2               action outweigh the best interest of the public and the defendant in a speedy trial.

3      4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
4
            Speedy Trial Act dictate that additional time periods are excludable from the period within
5
            which a trial must commence.
6

7
     IT IS SO STIPULATED.

8    Dated: August 4, 2015                                         /s/ John R. Manning
                                                                  JOHN R. MANNING
9                                                                 Attorney for Defendant
10
                                                                  Melissa Torres

11
     Dated: August 4, 2015                                        Benjamin B. Wagner
12
                                                                  United States Attorney
13
                                                                  by:/s/ Christiaan Hightsmith
14                                                                CHRISTIAAN HIGHSMITH
                                                                  Assistant U.S. Attorney
15

16
                                                  ORDER
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18          IT IS SO ORDERED.

19
     Dated: August 10, 2015
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